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IN THE UNITED sTATES DISTRICT CoURT ,».».-,,_;.J ..
FOR THE wEsTERN DISTRICT oF TENNESSEE ~% :.
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:'":;-' -'5' ‘“: F’”fl.“.:)
, ' :1: .. .';‘?',
UNITED STATES oF AMERICA ) l J w at paris
)
Plaintiff, )
)
Vs ) CR. No. 04-20100-1\/11
)
GERARD NORPHLET )
)
Defendant. )

 

ORDER TO SURRENDER

 

'l`he defendant, Gera;rd Norphlet, having been Sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI-FORREST
CITY, P. O. Box 7000, Forrest City, AR 72335 by 2200 p.m. on FRIDAY, JULY 15, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the _&Zday ofJune, 2005.

/@»€M‘M

JO PHIPPS McCALLA
U TED STATES DISTRICT JUDGE

 

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with F\ule 55 and/or 32(b} FRC:P on

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED `sATEsDTIsRIC COUR - W'"RNTE DSTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 200 in
case 2:04-CR-20100 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

